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                        IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

HEATHER PICQUELLE,

       Plaintiff,                                           Case No.: 1:23-cv-15057

v.                                                          Judge Sara L. Ellis

THE PARTNERSHIPS AND UNINCORPORATED                         Magistrate Judge Gabriel A. Fuentes
ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

       Defendants.

                                  NOTICE OF DISMISSAL

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

               NO.                                   DEFENDANT
                 5                     Up to 70% OFF Women Summer Clothing
                10                                       Kexdaaf
                16                                         Jovati
                23                    ZunFeo Fashion Queens (7-15Days Delivery)
                42                                      TXGMNA
                73                             fartey (5-14 days Delivery)
                75                             CD-HJ 7-14 Days Delivery
                77                                        wmjolc
                78                                         Attine
                89                                       CTEEGC
                92                   Deals Of The Day Lightning Deals Today Prime
                95                         YRAETENM(5-12 Days Delivery)
               116                                   YingeFun Crafts
               131                                    SHUSAMHA
               133                            SoSBI Womens 2023 Trendy
               134                    10-20 Days Delivery★★★★★Meigeanfang
               135                                      Xiaojmake
               137                                        Aboser-
               144                                       NaRHbrg
               148                                      guolicheng
               152                                        runxinjj
               157                                      XZNVKE
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            159                                  Ruziyoog
            161                     huangqiushipin(7-14 days shipping)
            169                       Dse-K1001(4-14 days delivery)
            170                                 Generic top
            171                                 Fong&YIN
            172                                   bawilom
            188                              manmaxiaowanzi
            202                               HADST Shop
            203                                   $dol$R$
             71                    hechetri Mens Hawaiian Shirts&Shorts
              1                                  MBTUOP
             53                                 POHDFHS
            113                                HADWNIUB
            122                               TOKCMLOK
            143                                 WJDSZBD
            174                                    LuvlC
             15                                 yudadianzis
             67                                  zeweima
            162                                    Lilgiuy
             46                                    Fsiakri
             18                                 fengjunhao
            124                                 JIMUKEJI
             63                              GUFD huanghong
            115                        tobchonp 10-20 days delivery
            153                               MoolBeko-US
            164                                  xiao yu er
              3                                jinsuwanglu
            155                                 KIKX0DE
            158                         MINGE 7-15 Shipping Days


DATED: December 13, 2023                    Respectfully submitted,

                                            /s/ Keith A. Vogt
                                            Keith A. Vogt (Bar No. 6207971)
                                            Keith Vogt, Ltd.
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                                            Chicago, Illinois 60604
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                                            ATTORNEY FOR PLAINTIFF
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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on December 13, 2023 with the Clerk of the Court using the
CM/ECF system, which will automatically send an email notification of such filing to all registered
attorneys of record.

                                                     /s/ Keith A. Vogt
                                                     Keith A. Vogt
